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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                        CIVIL MINUTES - GENERAL
    Case No.     CV 11-0974 PSG (JCx)                                          Date    August 25, 2017
    Title        United States ex rel. Mei Ling et al. v. City of Los Angeles et al.




    Present: The Honorable      Philip S. Gutierrez, United States District Judge
                    Wendy Hernandez                                           Not Reported
                       Deputy Clerk                                          Court Reporter
             Attorneys Present for Plaintiff(s):                   Attorneys Present for Defendant(s):
                        Not Present                                            Not Present
    Proceedings (In Chambers):         Order GRANTING Movant Relman, Dane & Colfax PLLC’s
                                       Motion for Leave to Appear

       Before the Court is Movant Relman, Dane & Colfax PLLC’s motion for leave to appear.
See United States ex rel. Mei Ling et al. v. City of Los Angeles et al., CV 11-0974 PSG (JCx),
Dkt. # 97. The motion is unopposed, and Co-Relator Mei Ling has asserted that she “does not
object the Relman Firm’s motion” and has consented to leave. See Dkt. # 103.

       Movant seeks leave to appear “for the limited purpose of protecting its right to recover
the portion of any monetary recovery obtained in this action by [its] former client, Relator Mei
Ling.” See Dkt. # 97-1, 2:2-4. Although Movant has expressed an intention to “file a notice of
attorney’s lien” at some future point, it is “not seeking any substantive relief from the Court at
present.” Id. 2:7-13.

    Because this motion is unopposed and Co-Relator Ling has consented to leave, the Court
GRANTS Movant Relman, Dane & Colfax PLLC’s motion for leave to appear.1

            IT IS SO ORDERED.


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1
 In consenting to leave, Co-Relator Ling also vigorously “objects to the proposed Notice of
Lien.” Dkt. # 103, 2:11-12. However, because Movant has not yet filed such a notice, this
objection is premature. In granting Movant’s motion to leave, the Court does not address the
merits of a proposed attorney’s lien. It will exercise that judgment if and when Movant files it.
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